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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

   IN RE: E. I. DU PONT DE
   NEMOURS AND COMPANY C-8
   PERSONAL INJURY LITIGATION,
                                                Civil Action 2:13-md-2433
                                                JUDGE EDMUND A. SARGUS, JR.
                                                Magistrate Judge Elizabeth P. Deavers


   This document relates to:

   Travis Abbott and Julie Abbott, et al. v. E. I. du Pont de
   Nemours and Co., et al., Case No. 2:17-cv-00998

   Angela Swartz and Teddy Swartz v. E. I. du Pont de
   Nemours and Company, Case No. 2:18-cv-00136


                            DISPOSITIVE MOTIONS ORDER NO. 42

          This matter is before the Court on Defendant’s Motion for a Mistrial (Abbott ECF No.

   178, Swartz ECF No. 188) and Defendant’s Renewed Motion for a Mistrial (Abbott ECF No.

   180), Plaintiffs’ Memorandum in Opposition (Abbott ECF No. 227, Swartz ECF No. 233), and

   Defendant’s Reply (Abbott ECF No. 229). For the reasons that follow, the Court DENIES

   Defendant’s Motions.

                                                   I.

          These cases, Abbott and Swartz, are part of the multidistrict litigation (“MDL”) In Re:

   E. I. Du Pont de Nemours and Company C-8 Personal Injury Litigation (“C-8 Personal Injury

   MDL”). The individual plaintiffs int the C-8 Personal Injury MDL are all part of a class (“Leach

   Class”) certified nearly twenty years ago in a West Virginia state court. The Leach Class

   consists of approximately 80,000 residents of Ohio and West Virginia who drank water




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   contaminated by releases of a chemical referred to as C-8 from DuPont’s Washington Works

   facility near Parkersburg, West Virginia.

          All C-8 Personal Injury MDL cases are subject to a settlement agreement executed over

   15 years ago (“Leach Settlement Agreement”) between the Leach Class and Defendant Du Pont.

   The Leach Class consisted of those individuals who for at least one year, had “consumed

   drinking water containing .05 ppb or greater of C-8 attributable to releases from Washington

   Works.” (Leach Settlement Agreement § 2.1.1, MDL ECF No. 820-8.) After a massive

   epidemiological study that lasted over seven years and cost over $24 million a Science Panel, in

   2012, delivered findings that linked C-8 to six human diseases including kidney cancer and

   testicular cancer (“Linked Diseases”). The Leach Settlement Agreement provided for the over

   3,500 individual Leach Class members who suffered from one or more of the of the Linked

   Diseases to file individual personal injury cases against DuPont. DuPont moved to have those

   cases centralized into the C-8 Personal Injury MDL.

          This Court has previously held four other month-long trials of other C-8 Personal Injury

   MDL cases with three trials going to verdicts all in favor of the plaintiffs. DuPont appealed the

   verdict from the first trial to the United States Court of Appeals for the Sixth Circuit, the appeal

   received full briefing, assignment of a judicial panel, and oral argument before the panel.

   DuPont withdrew the appeal in February 2017 before a decision was issued.

          On the same day the appeal was withdrawn, the fourth trial was ended in its third week

   without a verdict from the jury as part of a global settlement. DuPont filed notice with the

   Security and Exchange Commission of a $670.7 million global settlement of the 3500-plus then-

   pending cases, all of which were ultimately dismissed.




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           Since that time, 100-plus post-settlement cases have been filed. DuPont has indicated to

   the Court that it intends to take to trial all the post-settlement cases. Mr. Abbott and Mrs. Swartz

   were the first two post-settlement cases tried in a consolidated trial.

           Plaintiffs Mrs. Swartz and Mr. Abbott contend that C-8 from the Washington Works

   plant entered their drinking water and caused Mr. Abbott to twice develop testicular cancer,

   requiring removal of both of his testicles, and Mrs. Swartz to develop kidney cancer, requiring

   removal of part of her kidney. Both Mrs. Abbott and Mr. Swartz brought loss of consortium

   claims. After over five weeks of trial, the jury deliberations began on February 27, 2020. On the

   first day of deliberations, the jury sent five notes to the Court:

           (a) two asking for the specific causation expert testimony provided by Plaintiffs’
           and Defendant’s experts regarding only Mr. Abbott’s testicular cancers,

           (b) one requesting a white board,

           (c) one asking to break at 4:00 p.m., and

           (d) one requesting the Science Panel Report.

   (Trial Tr., Vol. 23 at 36–44, Abbott ECF No. 207; Jury Questions/Court Responses, Abbott ECF

   No. 242.)

           At the receipt of each note, the Court provided copies of the note to counsel and met with

   them on the record to determine how the questions should be answered. (Trial Tr., Vol. 23 at

   36–44, Abbott ECF No. 207.) After discussion, the Court, with the parties’ approval, provided

   the jury with the requests listed above in (a), (b), and (c). (Id.)

           With regard to the request for the Science Panel Report, which was not in evidence,

   Plaintiffs and Defendant agreed that it should not go to the jury. Defendant objected to the Court

   providing anything further than the answer “no” in response to the question of whether the jury

   could have the Science Panel Report. (Trial. Tr., Vol. 23 at 42, Abbott ECF No. 207.) The

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   Court, however, indicated its concern regarding that answer and that it was going to “make sure

   the jurors don’t have some speculation as to why it’s not in [evidence] and that we’re hiding the

   ball from them so I am going to give [a short explanation] as well,” i.e., “No, the Science Panel

   Report was not offered by either party and was therefore not admitted as evidence. The purpose

   of the Science Panel is set forth on page 19 of the Jury Instructions.” (Id. at 41–43; Jury

   Questions/Court Responses, Abbott ECF No. 242).

          The jury returned to deliberations the following morning, February 28, 2020. Right after

   the jury began their deliberations, Jury Coordinator Ms. Frances Green, informed the Court that

   she received a text from a juror that morning. The Court brought Ms. Green into open court

   outside of the presence of the jury and had her read the text into the record:

          THE COURT: Counsel, we’re at a very sensitive stage of the trial, as you know,
          and the only person who is required to speak to the jurors is Ms. Fran Green because
          she has to make sure their parking is paid and they’re reimbursed and their lunch is
          ordered. She received a text to which she has not responded, but she is here. I also
          want to again thank her for all the great work in this difficult case in getting a jury.

          If, Ms. Green, if you wouldn’t mind, would you read into the record the text you
          have received from one of the jurors?

          MS. GREEN: Yes, Your Honor. Well, the text started off saying “also, the reason
          being” -- because someone left an energy drink downstairs and asked me to bring
          it upstairs, and I did.

          THE COURT: And, to be clear, the jury assembly room is also your office.

          MS. GREEN: My office, that’s correct. And it says, “Also, there probably isn’t
          any chance they’re going to be a part of deliberations. Can we have a meeting with
          the judge?”

          THE COURT: All right. Now, my intention would be to reduce that to writing in a
          letter to the jury from me and instruct the jurors that if they have anything they wish
          to discuss, they must put it in writing and submit it to me and I will in turn give all
          of you a copy, and then we’ll decide where to go from there. Is there anything else,
          would anybody like to be heard on with that?




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           [Defense counsel] MS. LASLEY: Could we have her repeat that just one more
           time?

           THE COURT: Sure.

           MS. GREEN: It states, “Also, there probably isn’t any chance they're going to be a
           part of deliberations. Can we have a meeting with the judge?”

           THE COURT: And I’m not going to guess what that means, but I think that’s why
           we invite a more formal question from the jury or jurors. And I am going to refer
           them again to the part of the instructions where I’ve instructed them to only
           communicate in writing. Again, Ms. Green, thank you very much.

           MS. GREEN: Thanks, Your Honor.

           [Defense counsel] MR. MACE: Thank you, Your Honor.

           THE COURT: All right. With that, we’ll be in recess.

   (Trial Tr., Vol. 24 at 3–4, Abbott ECF No. 208.)

           Approximately 50 minutes later, around 10:10 a.m., the Court received two notes from

   the jury, both questioning Juror Number 54’s ability or willingness to participate in the

   deliberation process. One of the notes was signed by seven of the eight jurors.

           Your Honor,

           The jury requests that Juror 54 be removed from deliberations. The Juror refuses
           to assist in looking at the evidence due to having made their decision ahead of time
           and refuses to engage in jury deliberations and will not agree with the evidence that
           is presented and what it shows. The Juror will not have an open mind when we
           attempt to engage in any deliberation.

   (Jury Questions/Court Responses, Abbott ECF No. 242). The note was signed by seven jurors.

   The other note stated:

           Juror refuses to follow jury instructions to consider as fact that the science panel
           determination that drinking water containing .05 ppb for at least 1 year is linked to
           testicular and/or kidney cancer. The juror also refuses to follow the jury
           instructions to use the standard of proximate cause on the claims of Travis Abbott
           & Angela Swartz.

   (Id.)

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          The Court copied the notes, provided them to counsel, and brought counsel into open

   court outside of the presence of the jury:

          THE COURT: Counsel, you have received copies of two written communications
          I’ve received from the jury. I do want to indicate you’re looking at the same sheet
          I’m assuming I’m looking at. There are two notes, we’ve put them on one page.
          The note on the left actually was signed by seven jurors. I took their names off, but
          I wanted you to know everything that I know, but I don’t want to make their names
          public for good reason. So they’re of a view, and, of course, it’s not the jury’s
          decision to decide if there’s good cause for excusing another juror, but I am
          informed by the Sixth Circuit case U.S. vs. Patterson from 2014. If you have time,
          you may want to take a quick look at this. It’s 587 Fed. Appx. 878 from 2014. It’s
          from this district, and it involves a somewhat similar circumstance. It’s a criminal
          case, but it has to do with essentially when a juror may be excused. I think a fair
          reading of that case -- and there’s a lot of citations that go with it and, I mean no
          disrespect to the Court of Appeals, but it’s a great abstraction.

          There are two principles. One is a disagreeable juror cannot be excused for good
          cause simply because they disagree with the other jurors. But if a juror refuses to
          act as a juror, refuses to deliberate, refuses to sign a verdict form, things of that sort,
          then that is good cause to remove. The concerns I’ve had over the years is
          sometimes they exist simultaneously. That’s what we are paid for at the district
          court level, to try to figure that out.

   (Trial Tr., Vol. 24 at 4–5, Abbott ECF No. 208.)

          The Court then proposed a procedure to move forward, asking for input from counsel:

          So my initial thought is to make a record here. To bring in the juror, give some very
          careful preliminary instructions before any testimony is given. Those instructions
          would be along the lines that we want to know nothing about deliberations or
          anything done while the jury was together looking at this case, but then to ask some
          specific questions about what is raised in both of these notes and to make sure that
          she either is or isn’t functioning as a juror as directed by the instructions. I would
          say, and I’ve done this before, I’m going to do all the questioning.

          However, if you wish another area of inquiry before we excuse the person after
          testimony, I will ask you if you have anything additional you would like me to ask.
          Again, the reason for that is this is not going to be wide-open questioning. This is
          going to be focused on the matters in the notes we’ve gotten. Rule 606(b) only
          applies after verdicts, but the principles are the same. The jury deliberations are
          meant to be extremely private, and there will be no inquiry into anything of that
          sort.




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         At this point I’d invite any additional comments starting . . . . Mr. Mace, the floor
         is yours.

         MR. MACE: Yes, Your Honor. We would ask that the jury be instructed that the
         0.05 parts per billion has nothing to do with specific causation or actual malice.
         The note indicates that they’ve been confused by that, Your Honor.

         THE COURT: That’s probably step two. Step one is this juror. We can address
         that and, if necessary, I can give that instruction.

         MR. MACE: It ties into it, Your Honor, because what the jurors are saying, we can
         all infer different things from this, but I believe that the juror that’s being referred
         to has understood your instructions that are essentially what I’ve just said. The .05
         deals with general causation. It’s really neither of the issues this jury needs to
         consider. So the fact that the one juror [who]’s being talked about understands that
         and the others are trying to come up with something different and then they’re
         characterizing it as she won’t deliberate, I mean it ties into the two. So we would
         ask that be given right from the beginning.

         THE COURT: Once I’ve charged the jury, I’m not going to direct them to particular
         facts. So I appreciate that request, but right now I’m focused on this juror and
         whether there is good cause. If there’s not good cause, she’s staying on this jury.
         We’re sure of that. If there is good cause, I would be inclined to release her. This
         is going to take a while. We’re not going to do this in 30 seconds.

         But my next inclination would be to bring her in and ask her some fairly general
         questions about what’s in these two documents and see what her response is. And
         then she won’t be off the stand and you’ll have an opportunity if you wish to submit
         to me any additional questions in writing. And then at that point I’ll excuse her,
         and then we’ll talk again about what the best course is to go forward and I’ll hear
         from you again.

         MR. MACE: We would ask for 10 minutes, Your Honor, to go look at this case that
         you cited to us.

         THE COURT: We’re short for time, but 10 minutes is fine. We’ll be back here and
         I will have her in here at 10:25.

         MR. CONLIN: Your Honor, if plaintiffs can respond quickly to Mr. Mace’s
         statements. We vigorously disagree with his inference that he made. We disagree
         with his suggestion about trying to give a new instruction, and we completely
         disagree with his reading of this note.

         THE COURT: We’re not going to finalize this issue either. We’ll address this issue
         again after we hear from the juror. Mr. Mace and Mr. Conlin, one thing, they say



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          that it’s linked to testicular and/or kidney cancer. I don't see anything in here that
          gets into specific causation where this would not be applicable.

          MR. CONLIN: Plaintiffs agree, Your Honor.

          THE COURT: We’ll debate this later, but that’s just an observation. With that,
          we’ll be in recess for 10 minutes.

   (Trial Tr., Vol. 24 at 6–9, Abbott ECF No. 208) (emphasis added).

          Instead of 10 minutes, the Court waited 25 minutes, which permitted extra time for the

   parties to discuss the Court’s suggestions and review the applicable law related to the removal of

   jurors. Neither side lodged any objections to the Court questioning Juror 54 in the manner it

   discussed on the record with counsel. Therefore, the Court did exactly what it said it would do

   and brought in Juror 54 and questioned her in the manner it discussed with counsel, in the

   presence of counsel, on the record, cited below in relevant part:

          THE COURT: Let me start by thanking you. . . .

          So I instructed you during the course of the case to keep an open mind as you heard
          all of the evidence. Do you feel you’ve done that?

          A JUROR: Yes.
          ...

          THE COURT: One of the other things that I instructed all of you to do was to
          deliberate, meaning to discuss the case with everyone else who’s heard the same
          evidence and sat through the same trial. Have you deliberated yourself?

          A JUROR: Yes, since yesterday.

          THE COURT: All right. I’m asking you this again from what I have received.

          A JUROR: Okay.

          THE COURT: I wouldn’t ask you this otherwise.

          A JUROR: Uh-huh.

          THE COURT: So these aren’t questions I’ve made up. The instructions contain a
          reference, and you heard this all through the trial, to a finding of the science panel.

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         That’s the .05 parts per billion consumed for more than a year by an individual
         having a probable link to both testicular cancer and kidney cancer. You’ll remember
         all that.

         A JUROR: Yes.

         THE COURT: Are you able to accept the law and the facts that were directed before
         this case began? Can you accept that finding and the other law stated in the
         instructions?

         A JUROR: Yes.

         THE COURT: Do you have any trouble with that?

         A JUROR: I have no trouble with it.

         THE COURT: All right. And, as far as the causation, proximate cause standard,
         you remember that from the instructions.

         A JUROR: Yes.

         THE COURT: Do you have any trouble following that instruction?

         A JUROR: I have no problem, Your Honor.

         THE COURT: All right. And I don’t want to talk to you about the deliberations
         themselves, anything you’ve said or the other jurors have said. Is there anything
         else you feel you need to tell me?

         A JUROR: Yes, Your Honor.

         THE COURT: All right. Now, again, this is a sensitive part of the case. I want to
         maintain your confidentiality. I also want to maintain the other jurors’
         confidentiality. So let me start with please don’t tell me anything to do with what
         was said about the case itself. Is there anything else you would like to tell me?

         A JUROR: That makes it difficult, but –

         THE COURT: Here’s what I would ask you to do.

         A JUROR: Let me say this –

         THE COURT: I don’t mean to interrupt you. There’s probably a lot you would like
         to tell me, but there’s a lot we shouldn’t hear in this situation. This is what I would
         ask you to do, give me sort of a general sense of what you would like to talk about.



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          A JUROR: Okay. Let me say this. My no to the other jurors’ decision doesn’t mean
          that I’m not deliberating. I’ve been deliberating since yesterday morning.

          THE COURT: Okay.

          A JUROR: I was the one that asked for the science panel. I asked for Dr. Nichols.
          This morning we came, we deliberated. But I think the problem is I’m saying no
          when they are saying yes.

          THE COURT: Do you think that’s the whole problem?

          A JUROR: That’s the only problem.

   (Trial Tr., Vol. 24 at 9–13, Abbott ECF No. 208.)

          The Court made the determination that the juror should not be removed for cause and

   sent her back to the jury room to continue deliberations. After the juror left the courtroom, the

   Court informed the parties that if the jury sent another note regarding inability to reach a verdict,

   the Court would administer the Allen charge, 1 stating:

          THE COURT: This is what I expect to happen. Somewhere along the way we’ll
          get another note saying they’re deadlocked, then my inclination would be to give
          the Allen charge. There’s a pattern Sixth Circuit Court of Appeals instruction on
          that which I typically give. We’ll give them the Allen charge and see if that makes
          any difference. Anything else we need to discuss before we adjourn?

          MR. MACE: Not at this time, Your Honor.

          MR. CONLIN: No, Your Honor.

          THE COURT: All right. With that, we’ll be in recess.


   1
     An Allen charge is a supplemental jury instruction that the trial judge may give when the jury
   announces that it is unable to agree on a verdict. “Without being coercive, an Allen charge urges
   jurors to keep trying to reach verdict, and is designed to assist them in finding common ground
   by reminding them of their duties as jurors, encouraging them to give due deference to
   arguments of fellow jurors, and to reexamine their own views without abandoning their deeply
   felt beliefs.” Bhat v. U. of Cincinnati, 23 Fed. Appx. 280, 282 (6th Cir. 2001). An Allen charge
   is named after the case of Allen v. United States, 164 U.S. 492 (1896), in which the charge was
   first approved.



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   (Trial Tr., Vol. 24 at 13–14, Abbott ECF No. 208.)

          Approximately 15 minutes after the juror was sent back to deliberations, the Court

   received two notes from the jury. One asked for case specific causation testimony related only to

   Mrs. Swartz, and the other stated that the jury was deadlocked. (Jury Questions/Court

   Responses, Abbott ECF No. 242.) As it had informed the parties it would do, the Court gave the

   entire Sixth Circuit pattern Allen charge, with the addition of one sentence: “If this case had to

   be tried again, it would be at great expense and great emotional harm to all the parties in this

   case, defense and the plaintiff.” (Trial Tr., Vol. 24 at 16, Abbott ECF No. 208.)

            The Court sent the jury back to its deliberations and at that time also provided the

   requested specific causation expert testimony of the experts retained to opine on the specific

   cause of Mrs. Swartz’s cancer. The jury concluded their deliberations for the day at

   approximately 12:05 p.m. as previously scheduled. 2

          Deliberations resumed Monday morning at 9:00 a.m. The jury continued with its

   requests regarding only Mrs. Swartz that it had started before the Court gave the Allen charge.

   (Trial Tr., Vol. 25 at 3–6); (Jury Questions/Court Responses, Abbott ECF No. 242.)

          At approximately 11:30 a.m., DuPont filed a Motion for a Mistrial in both Swartz and

   Abbott, and at approximately 12:30 p.m. the Court received a note that indicated the jury was

   deadlocked on the Swartz case. (Id. at 6.) The Court discussed this with counsel and all agreed

   that the jury would be instructed to deliberate for another hour. See id.

          At approximately 1:50 p.m., the jury sent a note that indicated that they were still

   deadlocked on the Swartz’s case. (Id. at 11.) The jury delivered their verdicts at approximately

   2:00 p.m. finding in favor of the Abbotts and awarding them a total of $50 million and indicating


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    The Court had previously approved concluding early as requested by a juror who had a necessary
   appointment.
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   it was deadlocked on the Swartz’s case. Defense counsel asked for a polling of the jury, which

   was done. Each juror indicated that the verdicts were his or her true and accurate verdicts. (Trial

   Tr., Vol. 25 at 11–16, Abbott ECF No. 209.) The Court accepted the Abbott verdict and declared

   a mistrial in the Swartz case.

          The following day, DuPont filed a Renewed Motion for Mistrial as to Travis and Julie

   Abbott. (Abbott ECF No. 180.) Both of DuPont’s Motions are ripe for review.

                                                     II.

          The grant or denial of a request for a mistrial is at the discretion of the district court.

   Bhat v. U. of Cincinnati, 23 Fed. Appx. 280, 289 (6th Cir. 2001) (citing Grossheim v.

   Freightliner Corp., 974 F.2d 745, 752 (6th Cir. 1992)).

                                                    III.

          Defendant moves for a mistrial in the Abbott case on two bases: (A) “the circumstances

   surrounding the jury deliberations had an unconstitutionally coercive effect” and, (B) “the

   Court’s denial of DuPont’s requested instruction in response to the jury’s communications” was

   unduly prejudicial. (Mot. for Mistrial at 18, Abbott ECF No. 178; Renewed Mot. for Mistrial at

   1, Abbott ECF No. 180.)

   A.     Jury Deliberations

          DuPont contends that it is entitled to a mistrial (1) because of this Court’s unprompted

   choice to give the Allen charge and the content of that charge were unconstitutionally prejudicial,

   and (2) because the “sole juror in the minority was singled out and subjected to unduly coercive

   pressure to change her vote.” (Mot. for Mistrial at 10, 13, Abbott ECF No. 178.)




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          1.      Allen charge

          DuPont maintains that the Allen charge was unconstitutionally prejudicial because it was

   given (a) sua sponte by the Court with no indication from the jury that it was deadlocked, and (b)

   that the charge was improperly and prejudicially modified.

                  a.      Choice to Give the Allen Charge

          DuPont first expresses doubt that there was a note from the jury indicating that it was

   deadlocked, stating that “[t]he Court went into recess, and came back fifteen minutes later,

   immediately giving the Allen charge without, to DuPont’s knowledge, having received another

   note from the jury.” (Reply at 6, Abbott ECF No. 229.) DuPont suggests the Court had planned

   to give the Allen charge without receiving the note, because “[t]here is nothing in the record

   demonstrating that the jury sent a note that it was deadlocked in the few minutes after Juror 54

   was questioned and sent back to the jury room and before the modified Allen charge was given.”

   (Mot. for Mistrial at 2, n. 1, Abbott ECF No. 178; Reply at 7–8, Abbott ECF No. 229).

          DuPont, however, is mistaken. There is evidence in the record that the Court received the

   note as can be seen in its statement on the record in open court:

          THE COURT: Ladies and gentlemen of the jury, you have passed a note to me
          indicating you are at deadlock. I am going to ask that you return to the jury room
          and deliberate further, . . .

   (Trial Tr., Vol. 24 at 16, Abbott ECF No. 208) (emphasis added).

          The Court did not provide to the parties the particular note regarding deadlock, instead

   following the unopposed plan to provide the Allen charge if it heard from the jury again that it

   was deadlocked. The Court certainly would have provided copies of the note if it had been

   asked. And, the Court has since filed the jury notes –including the one at issue here—on the




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   Abbott and Swartz dockets. (Jury Questions/Court Responses, Abbott ECF No. 242, Swartz ECF

   No. 236.)

                  b.      Content of the Allen Charge

          The Sixth Circuit prefers judges to stick closely to its approved pattern instructions but

   has “never explicitly mandated the use of that or any instruction to the exclusion of others.”

   United States v. Clinton, 338 F.3d 483, 488 (6th Cir. 2003). When a trial judge does change the

   wording from the pattern instruction, it is not prejudicial if the charge as given “included all

   those elements of the original charge designed to ameliorate its coercive effect, and . . . avoided

   language which might heighten it.” United States v. Scott, 547 F.2d 334, 337 (6th Cir. 1977)

   (citation omitted).

          The constitutionality of a modified Allen charge turns on whether it was “coercive,” when

   viewed “in its context and under all the circumstances.” United States v. Brika, 416 F.3d 514,

   519 (6th Cir. 2005). This due process inquiry “focuses on the circumstances that triggered the

   charge, as well as the language of the charge itself.” Henderson v. Collins, 262 F.3d 615, 619

   (6th Cir. 2001). An unduly coercive Allen charge violates the defendant’s right to a fair trial.

   See, e.g., United States v. Scott, 547 F.2d 334, 337 (6th Cir. 1977).

          In the instant action, this Court gave the entire Sixth Circuit pattern instruction with no

   deletions from the instruction and the addition of only one sentence that is underlined:

          THE COURT: . . . . I am going to ask that you return to the jury room and deliberate
          further. I know this is difficult. I realize you’re having some difficulty reaching
          unanimous agreement, but that is not unusual and sometimes, after further
          discussions, jurors are able to work out their differences and agree.

                  Please keep in mind how important it is that you reach unanimous
          agreement. If you cannot agree and if this case has to be tried again, there is no
          reason to believe any new evidence will be presented or that the next jurors will be
          any more conscientious than any of you are or any more impartial than any of you
          are.

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                   Again, let me remind you that your duty as jurors is to talk to each other
           about the case, to listen carefully and respectfully to each other’s views, and to keep
           an open mind as you listen to what your fellow jurors have to say. And let me
           remind you it is your duty to make every reasonable effort that you can to reach
           unanimous agreement.

                   Each of you, whether you are in the majority or in the minority, ought to
           seriously reconsider your position in light of the fact that other jurors who are just
           as conscientious and impartial as you are have come to a different conclusion. None
           of you should hesitate to change your mind, if after reconsidering things, you are
           convinced that other jurors are right and that your original position might be wrong.

                   But remember this. Don’t just change your mind because other jurors see
           things differently or just to get the case over with. As I told you before, in the end
           your vote must be exactly that, your vote. As important as it is for you to reach
           unanimous agreement, it is important that you do so honestly and in good
           conscience.

                   Now, what I just said is not meant to rush or pressure you into agreeing on
           a verdict. Take as much time as you need to discuss things. There is no hurry. But
           remember, too, that if this case had to be tried again, it would be at great expense
           and great emotional harm to all the parties in this case, defense and the plaintiff.

                  So I would ask you now to return to the jury room and resume your
           deliberations. With that, we’ll be in recess.

   (Trial Tr., Vol. 24 at 9–13, Abbott ECF No. 208.)

           DuPont contends that the addition of this sentence was so coercive that it violated its

   right to a fair trial for several reasons discussed below. Plaintiffs respond that “[t]he Court’s

   slight modification to the Allen charge was harmless, balanced, and far from coercive.” (Opp. at

   5, Abbott ECF No. 227.) This Court agrees.

           First, DuPont contends that the added sentence led the “jury [to] consider external effects

   of a deadlock, including the expenses and emotional burdens of retrial [and therefore] was

   improper.” (Mot. for Mistrial at 11, ECF No. 178.) DuPont continues, that a “judge may not ask

   the jury to consider the external effects of their inability to reach a verdict, e.g., delay to other

   litigants caused by having to retry the case.” Id. (citing Brika, 416 F.3d at 522). The quotation

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   upon which DuPont relies is found in a section of Brika that reviews case law to determine what

   elements the Sixth Circuit has found necessary to avoid an unconstitutionally coercive Allen

   charge. The Brika court explains:

                   A review of the case law clearly indicates what may and may not appear in
           a modified Allen charge if it is to avoid becoming unconstitutionally coercive. First,
           the charge must include “the reminder that no juror should merely acquiesce in the
           majority opinion.” Scott, 547 F.2d at 337. Second, the judge may not instruct the
           jury that it is required to agree. Jenkins, 380 U.S. at 446; Williams, 741 F.2d at
           850. Third, the instruction must “direct [ ] both majority and minority jurors to
           reconsider their positions . . . .” United States v. Frost, 125 F.3d 346, 374–75 (6th
           Cir. 1997) (calling this “language which this circuit has identified as critical to any
           Allen charge”); United States v. Tines, 70 F.3d 891, 896 (6th Cir. 1995). Fourth,
           the judge cannot tell the jury that they are the only ones who can decide the case.
           Jones v. Norvell, 472 F.2d 1185, 1185 (6th Cir. 1973). Fifth, the judge may not ask
           the jury to consider the external effects of their inability to reach a verdict, e.g.,
           delay to other litigants caused by having to retry the case. Scott, 547 F.2d at 337.
           Finally, the reviewing court should consider whether the modifications to the Allen
           charge, when “viewed as a whole, were . . . confusing, misleading, or prejudicial.”
           Tines, 70 F.3d at 896.

   Id. at 521–22 (alterations other than underlining in original).

           The Allen charge given by this Court meets all of these requirements, including the fifth

   one which DuPont suggests was not met (i.e., “the judge may not ask the jury to consider the

   external effects of their inability to reach a verdict, e.g., delay to other litigants caused by having

   to retry the case). That quote is from U.S. v. Scott, which was reviewing an Allen charge given

   by the trial court that in relevant part stated:

           The second thing that I would state to you by way of advice is that this, of course,
           is a very important case, important to the defendant, important to the Government.
           It has another importance from this standpoint, that should, based on our
           experience, a sufficient time elapse that you indicated that you were totally unable
           to agree, it would then be necessary for the Court to declare a mistrial by reason of
           that fact, and then we would, of course, just be submitting it all over again on retrial
           to another Jury, if that's what the election was, and to what avail. Is there something
           that another Jury could do by way of a better job than this Jury could do?

           The factors that come to my mind on that are these. Next week I will be in Grand
           Rapids and we will be trying a civil case that has been filed and pending for four

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           years. Four years people are waiting to have a case heard, and that’s all I do, night
           and day, day after day, day after day, cases people have been waiting for. The
           criminal cases have a priority, and so it gets to be another two or three days. Well,
           it does get to be that. Instead of three days of time devoted to a case, it gets to be
           six days for another Jury.

           Now, I am only saying that so that you should be mindful of these things. I say, it’s
           very important to the defendant, very important to the Government, if you can
           possibly agree.

   Scott, 547 F.2d at 338.

           In finding the Allen charge unduly coercive, the Sixth Circuit explained that the trial

   judge did not “remind the jurors” that “no one of them should surrender an honest conviction

   about the case simply because other jurors disagreed, which is “one of the most important parts

   of the Allen charge.” Id. In the instant action, this Court did not omit this important part, nor did

   it omit any part, of the approved pattern instruction.

           DuPont admits that this Court did not omit this important part of the pattern instruction,

   or any part, yet it argues that Scott supports its position regardless, stating:

                   The Sixth Circuit [in Scott], however, specifically held that it was
           “impermissibly coercive” to instruct the jury to consider external effects on other
           civil parties. Id. That statement was independently coercive because “[t]hese
           remarks could be understood by the jury as an admonishment to reach a verdict in
           order to get the case out of the way, for the sake of a harried judge and long-
           suffering civil parties.” Id. (emphasis added); see also id. (“Any variation upon the
           precise language approved in Allen imperils the validity of the trial.”).

   (Reply at 4, Abbott ECF No. 229.)

           However, the Scott trial court did not suggest that only the parties before it would be

   impacted by the jury’s inability to reach a verdict as did this Court, but that in addition an entire

   other group of individuals would be severely impacted – individuals who had been waiting for

   four years would have to wait longer if that jury failed to reach unanimity. The subject matter of

   the potential harm to a retrial is not the same where the Scott court was concerned with its docket



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   and the other litigants before it and this Court directed its comment to the cost to the parties that

   are before the jury to which the direction was given. The additions in the instruction given in

   Scott simply bears no resemblance to the one sentence this Court.

          Second, DuPont’s contention that the added sentence unduly prejudiced it because the

   case entailed emotional testimony from Plaintiffs on the one side and testimony of a large

   corporation on the other is unpersuasive. This Court balanced its comment by specifically

   indicating how each party would be equally affected. While it is true that DuPont is a large

   corporation, testimony on its behalf was provided by individuals, many of whom provided tense,

   emotional testimony related to their life’s work. It is unhelpful speculation as to how the jury

   assessed any emotional or financial costs. The Court instructed that both sides would be equally

   impacted.

          Third, Dupont takes issue with the timing of the Allen charge in that is was give before

   the jury broke for the weekend. The Court, however, informed the parties of its intention to give

   an Allen charge prior to charging the jury, and neither party objected to this Court’s proposed

   plan or the potential of the charge being given before a weekend. DuPont was free to raise the

   issue of timing but did not do so.

          In any event, “[t]he timing of an Allen charge is left to the trial judge’s sound discretion.”

   U.S. v. Tines, 70 F.3d 891, 896 (6th Cir. 1995). Typically, the Allen charge is given “as soon as

   the jury announce[s] its deadlock.” Id. (citing United States v. Sawyers, 902 F.2d 1217, 1220

   (6th Cir. 1990) (holding court within its discretion to give Allen charge when jury announced a

   deadlock after three hours of deliberation), cert. denied, 501 U.S. 1253 (1991); United States v.

   Clark, 988 F.2d 1459, 1469 (6th Cir. 1993) (holding Allen charge appropriate when given 50

   minutes after jury announced a deadlock two days into deliberations), cert. denied, 510 U.S. 832



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   (1993)). “In fact, [the Sixth Circuit] has determined that the possibility of coercion is reduced if

   the charge is given early rather than after days of deadlocked deliberations.” Id. (citing Sawyers,

   902 F.2d at 1220). Here, the timing of the Allen charge was not unduly coercive and any impact

   caused by giving the charge on a Friday equally impacted both sides.

          Indeed, the Sixth Circuit has found that the fact that a jury continued to deliberate, and an

   individual juror was not compelled to an immediate verdict weighs in favor of a finding of non-

   coerciveness. The supplemental language held permissible in U.S. v. Levit, 39 Fed. Appx. 97,

   104 (6th Cir. 2002) is very similar to the language DuPont now argues is coercive: “[T]his case

   will end and have to be retried at considerable expense and grief to everybody in this case. . . .”

   Id. at 105. However, the Sixth Circuit found this language and the circumstances in the Levit

   case were “neither coercive to the juror nor prejudicial to [the defendant].” Id. at 106. The Sixth

   Circuit explained its decision by, inter alia, the following:

          Moreover, the individual juror was not compelled to an immediate verdict. The jury
          retired for the evening and reconvened the following morning for another hour.

          Clearly, one juror reevaluated her position, but the timeline does not suggest that
          coercion was probable. . . . Finally, the court polled the jurors individually,
          allowing each the opportunity to recant their verdict if in fact they had been
          improperly coerced into casting a vote contrary to their true belief as to Levit’s
          guilt.


   Id. at 106–107.

          In the instant action, Juror 54 was not compelled to an immediate verdict. The jury

   deliberated nearly another hour before breaking for the weekend and then deliberated for several

   more hours on the following Monday morning. And, as did the Levit court, this Court polled the

   jurors individually, allowing each the opportunity to recant their verdict if in fact they had been

   improperly coerced into casting a vote contrary to their true belief.



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          Fourth, and last, DuPont contends that certain comments of Juror 54 were directed at the

   Abbott case and the charge unduly coerced her into changing her decision in the Abbott case.

   (Renewed Mot. for Mistrial at 2, ECF No. 180) (“Based on the timing and content of the jury

   notes and subsequent questioning of Juror 54, Juror 54 apparently disagreed with her fellow

   jurors regarding whether specific causation was established on the Abbotts’ claims.”). There is

   simply no factual basis for this claim. To the extent any knowledge can be gleaned by what the

   jury asked in its questions, DuPont’s conclusion is not only speculative but is also in

   contradiction to certain facts.

          It is just as likely, and perhaps more probable, that Juror 54, after testifying and listening

   to the Allen charge, continued to support a defense verdict in Swartz but not in Abbott. The fact

   that the jury asked only for evidence relating to the Swartz case after Juror 54’s testimony and

   the Allen charge supports this view. While the Court believes this is more likely than what

   DuPont posits, all of this is mere speculation and neither position can be established from the

   record. This is another way of emphasizing that jury deliberations and pre-verdict votes are

   designed to be confidential.

          Given the circumstances just reviewed, any variation from the approved Allen charge was

   de minimis and was neither unduly coercive nor unfairly prejudicial.

          2.      Juror Number 54

          DuPont takes issue with the process of inquiry of Juror 54, asserting that because of the

   nature of the questioning, the deliberative process was compromised so significantly that the

   Court should declare a mistrial. DuPont’s arguments are not well taken because (a) DuPont

   agreed to the procedure and, even if it had not, (b) the questioning was appropriate under Sixth

   Circuit law.



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                  a.      DuPont’s Agreement to the Questioning of Juror 54

          DuPont previously agreed to the process of questioning Juror 54 and has therefore

   waived any objection it may have had. As quoted in detail above, this Court requested DuPont’s

   input on the process to be utilized, stating that the Court’s “initial thought is to make a record

   here. To bring in the juror, give some very careful preliminary instructions before any testimony

   is given. . . . designed to determine whether she either is or isn’t functioning as a juror as directed

   by the instructions. . . . [and] [a]t this point I’d invite additional comments. . . . Mr. Mace the

   floor is yours.” (Trial Tr., Vol. 24 at 4–9, Abbott ECF No. 208; Jury Questions/Court Responses,

   Abbott ECF No. 242.)

          At that point, defense counsel made comments regarding the content of the notes and his

   request for additional jury instructions but did not object to the procedure of questioning the

   juror in open court, a procedure that has been approved by the Sixth Circuit. See Levit, 39 Fed.

   Appx. at 104 (affirming trial court’s denial of mistrial in case where the trial court questioned of

   juror in open court). The Court then again stated it was inclined to bring the juror into open

   court for questioning and it received no objection or comment whatsoever from DuPont:

          But my next inclination would be to bring her in and ask her some fairly general
          questions about what’s in these two documents and see what her response is. And
          then she won’t be off the stand and you’ll have an opportunity if you wish to submit
          to me any additional questions in writing. And then at that point I’ll excuse her, and
          then we’ll talk again about what the best course is to go forward and I’ll hear from
          you again.

   (Trial Tr., Vol. 24 at 8, Abbott ECF No. 208.)

          The Court provided DuPont over double the time it requested to consider the notes and

   the Court’s suggested procedure. DuPont made no further request of the Court, instead agreeing

   to the procedure.




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                  b.      Questioning of Juror 54

          DuPont maintains that regardless of whether it agreed to the procedure suggested by the

   Court, it is still entitled to a mistrial because “Juror 54 was singled out and pressured to

   reconsider her vote” as is shown by the fact that she “was questioned alone, on the witness stand,

   in open court, in front of Plaintiffs and the media, about allegations of misconduct that all of her

   fellow jurors had secretly lodged against her with the Court.” (Mot. for Mistrial at 17, Abbott

   ECF No. 178.) Further, DuPont argues that the additional sentence in the Allen charge, given

   “fifteen minutes after Juror 54 returned to the jury room after being questioned, [and] the Court

   brought the jury back in and, while Juror No. 54 was in tears, delivered the modified, prejudicial

   Allen charge . . . .” (Id. at 17–18.) DuPont concludes that the “flawed instruction to the jury

   here added to rather than counteracted the coercive pressure brought to bear on a single juror as a

   result of having been identified in open court as the lone dissenter.” (Id. at 18.) This assessment,

   however, is not supported in the record or the law of the Sixth Circuit.

          First, this issue of Juror 54 allegedly crying during the giving of the Allen charge was

   discussed by the Court in its decision granting DuPont permission to file a document under seal

   with its Motion for a Mistrial. (Order, Abbott ECF No. 179.) In that Order, the Court indicated

   that DuPont’s assertion that Juror 54 was crying during the reading of the Allen charge was not

   seen by any of the Court’s staff (the court reporter, courtroom deputy, career law clerk, three

   term law clerks, and the Court Security Officer who walked the jury to and from the jury room

   on that occasion) and was unsupported by the record, stating:

                  Importantly, this factual assertion [about Juror 54 crying] is completely
          unsupported in the record. Indeed, even though DuPont’s counsel took the
          opportunity immediately following the Allen charge to make a record with regard
          to Juror 54, he made no mention of this alleged conduct:

                  MR. MACE: . . .

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                  But while we’re on the record, I did want to note that Juror Number
                  54 was very emphatic in her statements that she was deliberating
                  and that she was following the Court’s instructions.

                  And also note our objection to the Court’s addition to the Sixth
                  Circuit pattern instruction for the Allen charge about emotional
                  distress at the end. We object to that.

           (Tr. at 16–17, Vol. 24.)

   (Id. at 2.)

           The Court was concerned that there was no contemporaneous record made as to DuPont’s

   later contention that Juror 54 was crying, even though defense counsel made a record unrelated

   to any crying at that time related to Juror 54. In an attempt to alleviate the Court’s concern,

   DuPont provided support for its later assertions related to Juror 54 by offering a declaration from

   lead counsel and a senior associate who is part of DuPont’s trial team.

           In the declaration lead counsel avers, inter alia, the following:

           As the jury walked past me, I noticed that Juror 54 had tears in her eyes. Prior to
           the Court entering the courtroom, Juror 54 removed her glasses and wiped her eyes,
           at which point I received the note attached as Exhibit 1.

   (Mace Aff. ¶ 4, Abbott ECF No. 182-1.) Exhibit 1 is a handwritten note from his co-counsel that

   indicates that the juror “is crying.” Id. Ex. 1. The second declarant similarly states that as the

   jury walked past her, she “noticed that Juror 54 had tears in her eyes.” (Spicer Aff. ¶ 5, Abbott

   ECF No. 182-2.)

           DuPont contends that it “submitted the attached two declarations that provided the basis

   for DuPont’s statement that Juror 54 was visibly in tears when she returned to the courtroom

   prior to the reading of the Allen charge.” (Response at 1, Abbott ECF No. 182.) DuPont,

   however, never said in its Motion for a Mistrial that “Juror 54 was visibly in tears when she




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   returned to the courtroom prior to the reading of the Allen charge.” Instead, DuPont twice said

   that Juror 54 was in tears during the reading of the Allen charge:

          [T]he modified Allen charge with its improper emphasis on “great expense and
          great emotional harm” being given while Juror 54 was in tears, . . .

          [T]he Court brought the jury back in and, while Juror No. 54 was in tears, delivered
          the modified, prejudicial Allen charge . . . .

   (Mot. for a Mistrial at 15, 17, Abbott ECF No. 178.)

          The Court is unsure of what to make of these inconsistencies. At best, different people

   observed different conduct of Juror 54 and counsel was unaware that the wording utilized in the

   Motion for a Mistrial that he signed and filed was incongruent with that to which he now swears

   in his declaration. Yet, even still, lead counsel provides no explanation as to why neither he, nor

   any other defense attorney, made a contemporaneous record with the Court of this now

   emphasized issue. Nevertheless, even under DuPont’s current version of the facts, this Court

   could not have seen the alleged crying nor have known it happened because it was outside of the

   undersigned’s presence and DuPont did not inform the Court or any of its staff and therefore

   cannot form any basis for a mistrial.

          Second, Rule 47(c) of the Federal Rules of Civil Procedure allows a judge to excuse a

   juror from service during deliberation for good cause. Similar to the facts before the Sixth

   Circuit in Bhat (discussed in more detail below), this Court “stated that its reason for questioning

   [the juror] was to determine whether she should be struck from the jury for cause.” Bhat, 23

   Fed. Appx. at 288. Based on the notes from the jury, this Court “could have reasonably

   suspected that [Juror 54] was unwilling or unable to follow the court's instructions, [and

   therefore] its actions were proper given the circumstances.” Id. (citing as comparisons United

   States v. Baker, 262 F.3d 124, 129–30 (2d Cir. 2001) (noting that the question whether “just



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   cause” under Fed. R. Crim. P. 23(b) exists to excuse a juror is a matter within the discretion of

   the district court, and approving of district court's in chambers discussion with juror who refused

   to deliberate); United States v. Reed, 167 F.3d 984, 989 (6th Cir. 1999) (noting that the district

   court has discretion to manage reported jury misconduct); United States v. Shackelford, 777 F.2d

   1141, 1145 (6th Cir. 1985) (noting that the district court has a duty to investigate juror

   misconduct, and has discretion in deciding the scope of the proceedings necessary to discover the

   misconduct)).

          Last, DuPont argues that the law of the Ninth Circuit requires a mistrial because this

   Court was aware of the nature or extent of numerical division of the jury before giving the Allen

   charge, and there was therefore a danger that Juror 54 would believe that the Court was directing

   the charge to her instead of to the jury as a whole. (Mot. for Mistrial at 17, ECF No. 178) (citing

   United States v. Parsadanyan, 727 F. App’x 432, 433 (9th Cir. 2018); United States v. Williams,

   547 F.3d 1187, 1207 (9th Cir. 2008); United States v. Ajiboye, 961 F.2d 892, 894 (9th Cir.

   1992)). DuPont relies most heavily on U.S. v. Sae-Chua, 725 F.2d 530, 531–32 (9th Cir. 1984).

   (Mot. for Mistrial at 2, 17–18, ECF No. 178; Reply at 8–9, ECF No. 229.) That case and the

   law of the Ninth Circuit on this issue, however, is neither precedential nor persuasive as to the

   facts before this Court.

          The Sixth Circuit has “held that the trial court’s mere knowledge of the jury’s numerical

   split is not dispositive under Brasfield [v. United States, 272 U.S. 448, 450 (1926)], if the

   information was volunteered by the jury, but that it is incumbent on the court, in such a case, to

   instruct both sides to reconsider their positions.” Bhat, 23 Fed. Appx. at 289–90 (citing United

   States v. Reed, 167 F.3d 984, 991 (6th Cir. 1999); United States v. Lash, 937 F.2d 1077, 1086

   (6th Cir. 1991)). The Sixth Circuit explained:



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           In the instant case, the judge learned inadvertently of the numerical split during
           polling, as Ms. Marrow happened to be the final juror polled. Moreover, Ms.
           Marrow’s statements regarding what she believed to be the positions of her fellow
           jurors were unsolicited by the court, and were not necessarily accurate. Although
           the district court was aware that Ms. Marrow was the lone hold-out, it was within
           the district court’s discretion to give a properly worded Allen charge. See Reed,
           167 F.3d at 991.

           ....

           The instruction was even-handed, and did not single out Ms. Marrow. Rather, the
           instruction reminded all the jurors that they should deliberate with an open mind,
           and that no one was required to give up an honestly held belief. It in no way
           suggested that a verdict was necessary, nor did it suggest that the jurors should
           surrender conscientious positions in light of the views of other jurors. The court
           made clear that the charge was leveled at all the jurors when it indicated that the
           court had already discussed the issue with Ms. Marrow. Ms. Marrow might well
           have felt support in the district court’s statements to her fellow jurors that she had
           a right not to give up her honestly held beliefs.

   Id. at 291.

           The same can be said of the case sub judice regarding the Court inadvertently discovering

   the numerical split. That DuPont did not approve of the additional sentence in the Allen charge

   does not change this analysis. That is, similar to the instruction in Bhat, this Court’s instruction

   was even-handed, and did not single out Juror 54. Rather, the instruction reminded all the jurors

   that they should deliberate with an open mind, and that no one was required to give up an

   honestly held belief. It in no way suggested that a verdict was necessary, nor did it suggest that

   the jurors should surrender conscientious positions in light of the views of other jurors. As could

   the juror in Bhat, Juror 54 might well have felt support in this Court’s statements to her fellow

   jurors that she had a right not to give up her honestly held beliefs. See also United States v.

   Frost, 125 F.3d 346, 375 (6th Cir. 1997) (finding that the district court did not abuse its

   discretion by delivering an Allen charge where the minority juror volunteered their minority

   status and the judge knew of the minority juror at the time of the charge); Lash, 937 F.2d at



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   1085–86 (finding the court’s knowledge of the numerical split and supplemental charge did not

   coerce the minority as each side was instructed to reconsider its position).

          Bhat continues to be helpful with regard to this Court’s assessment of DuPont’s

   arguments. In that case, the plaintiff-appellant Dr. Bhat alleged gender and national origin

   discrimination in employment against the University of Cincinnati and two individual doctors.

   During deliberations, the jury sent multiple notes to the judge indicating a possible deadlock,

   including mentioning a juror who was not deliberating: “If one of the jurors refuses to adhere to

   the juror’s instructions and is holding up the progress, is there anything that can be done so that

   we can move forward.?” Id. at 283. Ultimately the jury returned a unanimous verdict for the

   defendants. Id. at 283.

          Upon polling, however, Juror Number 8 stated “I can’t say yes, I can’t say yes” in

   response to the question of whether the verdict was her true and accurate verdict. Id. The trial

   court sent the other jurors back to the jury room and questioned Juror 8 individually in chambers,

   where the juror indicated she felt pressure from the other jurors so she signed the verdict form.

   The questioning in relevant part is as follows:

          COURT: Miss Marrow, when [the clerk] read the jury’s verdicts, each of which
          had your signature on it—

          Ms. Marrow: Uh-huh.

          COURT:—you indicated that you were hesitant to say that was your true and
          accurate verdict. Obviously we need to know what is the problem. Would it be
          helpful for you to go back to the jury room to continue your deliberations with your
          fellow jurors?

          MS. MARROW: I don’t think so. I—basically, well, I signed, but some of it I felt
          like I was under pressure from the other jurors, and maybe my interpretation was a
          little different than what theirs was of it. And I think what actually happened is that
          I basically let them convince me. I mean, we have been going through it, I have
          been holding out for a long time, and everybody was getting antsy, and some of the



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           things I agreed with. And we sent, you know, notes to try to clarify some things.
           And after our last note, I—guess I went along with the majority.

   Id. at 284. The district court then asked the juror if she could follow the instructions, to which

   she replied she could. The court gave the individual juror the following modified Allen charge

   and sent her back to deliberate:

           COURT: Okay. We will print new verdict forms that are blank, send them up to
           the jury room to the foreman, and you all should begin your deliberations again.
           There is no other jury that can do a better job, that will hear more evidence, receive
           more exhibits.

           Each side has put a great deal of time and effort into the case. And if the jury is
           unable to reach a verdict, another trial may have to occur, and each side will incur
           additional time, effort and expense. So if at all possible, you should attempt to
           reach a verdict. Okay?

           MS. MARROW: (Indicating Affirmatively). Okay.

   Id. at 285.

           The Court returned the juror to further deliberations at 3:11 p.m. At 3:25 p.m. the Court

   a second time summoned the juror to her chambers for questioning, this time discussing a note

   from the jury that was signed at 3:23 pm.:

           COURT: Ms. Marrow, I have a note from your foreman, and he says that you do
           not intend to change your mind on Interrogatories 6 and 8, which are the issues of
           constructive discharge, with regard to Dr. Walsh, on the basis of gender and
           national origin; is that correct?

           MS. MARROW: As to today, right, that’s correct.

           COURT: You leave open the possibility that if you were given the opportunity to
           deliberate further, your mind might be changed, or you believe that you might
           change the minds of the other members of the jury?

           MS. MARROW: I don’t think I will be able to change their minds, but my mind
           might be changed. But I have gone through all the evidence that was there, and
           that—those are the two things that I was really stuck on, because I truly believe
           that.




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           COURT: Well, all right. He says that you are—the jury is at a permanent impasse
           on Items 6 and 8. Do you think if you had some more time to discuss it, you all
           might be able to reach a unanimous verdict on those two issues?

           MS. MARROW: Not today, I don’t think so. I can go through the material again,
           but not today I don’t think so.

           COURT: All right. Thank you.

           MS. MARROW: Okay.

   Id. at 286–87.

           The court then sent Ms. Marrow back to the jury room to continue deliberations. The

   Sixth Circuit explained, and ultimately approved of, what happened next:

                   The judge indicated that she was inclined to bring the whole jury back into
           the courtroom and read them the previously prepared Allen charge. The court
           suggested that the jury could then be asked to return on Monday to continue
           deliberations. Dr. Bhat’s attorney stated his belief that a mistrial was the only
           option, as an Allen charge would create more pressure on Ms. Marrow as well as
           her fellow jurors to come to a unanimous verdict. In response, the court stated:

                    I have not heard anything from her that differs significantly from
                    any other jury dynamics situation. I am inclined to call the jury back,
                    give them the Allen charge; if they don’t reach an agreement within
                    a reasonable period of time, or if they come back and say that they
                    are at impasse, then I will declare a mistrial. . . . But I think we
                    should give the jury a fair opportunity to try and reach consensus on
                    these other two verdicts. She indicates that she was willing, despite
                    what her foreman says, to change her mind, if she has the
                    opportunity to review the information. If she doesn't, and she is still
                    convinced that she is correct, then I am certainly not going to beat
                    up on her. That’s why we have juries. But I don't think we should
                    give up on them prematurely. . . .

           (J.A. at 253).

           The jury reentered the courtroom at 3:40 p.m. The court stated that it had received
           the jury foreman's note indicating that the jury was at an impasse. The court
           prefaced the Allen charge with the following: “In speaking to Ms. Marrow, I have
           explained what I am about to tell you.” (J.A. at 254).

   Id. at 287 (alterations in original).



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          The jury left the courtroom at around 3:45 p.m. to continue deliberations. At 5:18 p.m.,

   the jury returned a unanimous verdict in favor of the defendants on all the interrogatories, and

   when polled Juror 8 stated that the verdict was her true and accurate verdict. Id. at 287.

          Based on this, and all of the events leading up to it, Dr. Bhat argued that “[i]t is difficult

   to imagine a more coercive set of circumstances than existed when the District Court, over the

   objection of counsel, issued the Allen charge to the entire jury in the instant case.” Id. at 291.

   The Sixth Circuit reviewed the totality of the circumstances and determined that it was not

   coercive to twice individually question the juror, give a modified Allen charge to the individual

   juror, question the juror as to whether she understood the preponderance of the evidence

   standard, and give an Allen charge to the entire jury after knowing the numerical split and that

   Juror 8 was the lone holdout.

          The appellate court approved the individual questioning of the juror because, while the

   juror spoke about the pressure she felt from her fellow jurors, the “dialogue between the court

   and Ms. Marrow in chambers, set forth above, reveals that the district court was interested in

   determining whether Ms. Marrow was able to understand and apply the law and the court’s

   instructions. Ms. Marrow’s statements regarding the jury’s deliberative process were unsolicited

   and serve mainly to cloud the issue.” Id. at 289 (“The district court was asking Ms. Marrow a

   series of questions designed to reveal whether Ms. Marrow was capable of following the court’s

   instructions. . . . [including] whether she understood the burden of proof.”).

          Again, the same can be said for this Court’s questioning of Juror 54. Indeed, this Court

   much more narrowly tailored its questions and its time questioning Juror 54 to determine

   whether she was able to understand and apply the law and the Court’s instructions.




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             3.     Conclusion Jury Deliberations

             As stated above, DuPont had numerous opportunities to object to the procedure utilized

   to determine whether Juror 54 could deliberate and instead agreed to the procedure utilized.

   Even if DuPont had not waived its ability to object, however, the totality of the circumstances

   show that Juror 54 was not unduly coerced nor the deliberative process impaired – Juror 54 was

   polled and stood by her verdict as her verdict and was firm in her statements to the Court that she

   was deliberating. Further, the Court gave the entire Sixth Circuit pattern Allen charge, which

   therefore included all elements that are designed to ameliorate its coercive effect. The Court’s

   addition of one sentence provides no support for an inference that a verdict would be more or

   less beneficial for either party. The additional language did not heighten any coercive effect of

   the charge, especially when considering the surrounding circumstances, including the jury’s

   inability to reach a unanimous decision on the Swartz case. Accordingly, the jury deliberations

   were not unconstitutionally coercive, and declaration of a mistrial is not appropriate.

   B.        Jury Supplemental Instructions

             DuPont contends that, “[s]eparately, a mistrial should be granted due to the Court’s

   denial of DuPont’s requested instruction in response to the jury’s communications.” (Mot. for

   Mistrial at 18.) “When a party objects to jury instructions, [the Sixth Circuit] will reverse ‘only

   if the instructions, viewed as a whole, were confusing, misleading, or prejudicial.”” U.S. v.

   Tines, 70 F.3d 891, 896 (6th Cir. 1995) (citing Beard v. Norwegian Caribbean Lines, 900 F.2d

   71, 73 (6th Cir. 1990); Kitchen v. Chippewa Valley Schs., 825 F.2d 1004, 1010-11 (6th Cir.

   1987)).

             As set out above, DuPont asked the Court to give an additional instruction to the jury

   when it sent two notes about Juror 54, indicating in relevant part to this argument that she



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   refused to follow the jury instructions regarding class membership and the instruction on

   proximate cause. (Mot. for Mistrial at 18–19.) DuPont concludes that, “[b]ecause the other

   jurors appear to be under the misapprehension that the 0.05 parts per billion standard and the

   Science Panel’s conclusions have an outcome-determinative bearing on specific causation, a new

   trial is warranted. DuPont’s arguments are not well taken.

          Initially, the Court highlights that DuPont’s contention that the jury’s misapprehension

   would have an outcome-determinative bearing on specific causation did not hold true. That is,

   the jury was unable to reach agreement on specific causation as to Mrs. Swartz but were able to

   on Mr. Abbott.

          Further, as Plaintiffs correctly note:

          The relevant note states:

                  Juror refuses to follow instructions to consider as fact that the
                  science panel determined that drinking water contained .05ppb for
                  at least 1 year is linked to testicular cancer or kidney cancer.

          The next sentence states:

                  The juror also refuses to follow the jury instruction to use the
                  standard of proximate cause in the claims of Travis Abbott and
                  Angela Swartz. (emphasis added).

          The note does not mix the ideas of proximate cause/specific causation with the
          Science Panel’s general causation finding.

   (Pls Mem. in Opp. at 14, Abbott ECF No. 227.)

          Finally, as DuPont correctly explains, it has objected to the jury instructions given

   in this case on this issue in all of the six trials held in the C-8 Personal Injury MDL.

   There are hours of transcripts where the issue has been debated, which reflects the

   Court’s efforts to provide a balanced set of instructions. DuPont’s suggestion that the




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   ourt somehow created error with its decision not to change those instructions mid-

   deliberations in unpersuasive.

                                                 IV.

          Based on the foregoing, the Court DENIES Defendant’s Motion for a Mistrial (Abbott

   ECF No. 178, Swartz ECF No. 188) and DENIES Defendant’s Renewed Motion for a Mistrial

   (Abbott ECF No. 180).

          IT IS SO ORDERED.



   12/31/2020                                  /s/ Edmund A. Sargus, Jr.
   DATE                                        EDMUND A. SARGUS, JR.
                                               UNITED STATES DISTRICT JUDGE




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